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 8                      UNITED STATES DISTRICT COURT
 9                     EASTERN DISTRICT OF CALIFORNIA
10
11   GARY PALMER,                          No. 2:05-cv-1935-MCE-GGH
12             Plaintiff,
13        v.                               ORDER
14   CHELSEA FINANCING
     PARTNERSHIP, LP, CLAIRE’S
15   BOUTIQUES, INC. dba CLAIRE’S
     BOUTIQUES, et al.
16
               Defendants.
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19        Defendant Claire’s Stores, Inc. (erroneously sued herein as
20   CLAIRE’S BOUTIQUES, INC. dba CLAIRE’S BOUTIQUES) (“Claire’s”) has
21   filed a Bill of Costs in the amount of $258.93, following the
22   Court’s January 20, 2006 Order granting its Motion to Dismiss.
23   Because Plaintiff’s complaint in this matter alleges
24   accessibility issues under Title III of the Americans with
25   Disabilities Act, 42 U.S.C. § 12101, et seq., cost are awardable
26   to a prevailing defendant only if the plaintiff’s action was
27   frivolous, unreasonable or without foundation.       Brown v. Lucky
28   Stores, Inc., 246 F.3d 1182, 1190 (9th Cir. 2001).
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 1   In seeking costs, Claire’s has made no attempt to show that
 2   Plaintiff’s claims against it fell within those parameters.
 3   Claire’s request for costs is accordingly DENIED, without
 4   prejudice.
 5        IT IS SO ORDERED.
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     Dated: March 27, 2007
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 8                                    _____________________________
 9                                    MORRISON C. ENGLAND, JR.
                                      UNITED STATES DISTRICT JUDGE
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